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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

Leonard A. McGee and Kenneth A. White,             Case No. 1:21-cv-03024

                    Plaintiffs,

                    v.

Fifth Third Bank,

                    Defendant.

                    FIFTH THIRD BANK, NATIONAL ASSOCIATION’S
                               NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, Defendant Fifth Third Bank, National

Association (“Fifth Third”), hereby files this Notice of Removal (the “Notice”) of the action filed

in the Circuit Court of Cook County, State of Illinois, case number 2021-L-004998, styled as

Leonard A. McGee and Kenneth A. White v. Fifth Third Bank (the “State Court Action”).

       1.      The State Court Action was filed in the Circuit Court of Cook County on May 14,

2021. Pursuant to 28 U.S.C. § 1446(a), a copy of the Complaint in the State Court Action (the

“Complaint”), including all exhibits attached thereto (but with certain loan numbers redacted) is

attached hereto as “Exhibit A.” The Complaint is the only “process, pleadings, and orders” filed

in the State Court Action as of May 25, 2021.

       2.      In the Complaint, Plaintiffs purport to state claims for “defamation,” “negligent

failure to correct inaccurate information in a timely manner,” violations of the Fair Credit

Reporting Act, breach of contract, and “discrimination.” See Complaint.

I.     This Notice is Timely.

       3.      Removal of this action is timely under 28 U.S.C. § 1446(b), which provides that

“[t]he notice of removal of a civil action or proceeding shall be filed within thirty days after the
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receipt by the defendant, through service or otherwise, of a copy of the initial pleading setting

forth the claim for relief upon which such action or proceeding is based[.]” In this case, the

Complaint was not filed until May 14, 2021, and Fifth Third has not been served, so this Notice

is timely.

II.     The Northern District of Illinois is the proper venue.

        4.     Venue in this District is proper under 28 U.S.C. § 1441(a) because the Circuit

Court of Cook County, Illinois (where the State Court Action was filed) is within the jurisdiction

of the United States District Court for the Northern District of Illinois, Eastern Division.

        5.     Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice is being filed with the clerk

of the Circuit Court for Cook County and will be served upon Plaintiffs contemporaneously with

this filing. A copy of the Notice of Filing of Notice of Removal is attached hereto as “Exhibit

B.”

III.    Jurisdiction Exists.

        6.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

Plaintiffs have brought a claim under the Fair Credit Reporting Act 15 U.S.C. § 1681, et seq. To

the extent Plaintiffs assert other claims, this Court has subject matter jurisdiction over the same

pursuant to 28 U.S. Code § 1367, because any other claims are “so related” to Plaintiffs’ claims

under the FCRA, as all claims relate to the same set of facts.

        7.     Pursuant to 28 U.S.C. § 1446(b)(2)(A), “[w]hen a civil action is removed solely

under section 1441(a), all defendants who have been properly joined and served must join in or

consent to the removal of the action.” Although the Complaint identified John and Jane Does 1-

10 and Jennifer Murphy as defendants, they are not proper defendants as no claims are asserted
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against said parties. Moreover, there is no evidence in the record to demonstrate that any party

has been served, and accordingly, no further consent is required. See 28 U.S.C. § 1446(b)(2)(A).

       WHEREFORE, Defendant Fifth Third Bank, National Association hereby gives notice

that the State Court Action has been removed to this Court.


Dated: Friday, June 4, 2021                         Respectfully submitted,

                                                    DINSMORE & SHOHL LLP

                                                    /s/ Alexander Wright
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                                                    Association
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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 7, 2021, I caused a true and correct copy of the forgoing

Notice of Removal, with all attachments, to be served by first-class mail, postage prepaid to:

       Leonard A. McGee               Kenneth A. White
       8956 S. Bishop St.             36473-060 FCI McKean
       Chicago, IL 60620              P.O. Box 8000
                                      Bradford, PA 16701

                                                     /s/ Alexander Wright
